     Case 2:21-cv-01848-MRW Document 10 Filed 04/15/21 Page 1 of 2 Page ID #:28




 1   SO. CAL. EQUAL ACCESS GROUP
     Jason J. Kim (SBN 190246)
 2   Jason Yoon (SBN 306137)
 3
     101 S. Western Ave., Second Floor
     Los Angeles, CA 90004
 4   Telephone: (213) 252-8008
     Facsimile: (213) 252-8009
 5   scalequalaccess@yahoo.com
 6   Attorneys for Plaintiff
     KEVIN COX
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     KEVIN COX,                                        Case No.: 2:21-cv-01848-MRW
11
12                Plaintiff,
                                                       NOTICE OF VOLUNTARY
13         vs.                                         DISMISSAL OF ENTIRE ACTION
                                                       WITH PREJUDICE
14
     OTW INC.; ANDRE OBALEK; and
15   DOES 1 to 10,
16
                  Defendants.
17
18
19         PLEASE TAKE NOTICE that KEVIN COX
20   (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
21   voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
22   Procedure Rule 41(a)(1) which provides in relevant part:
23         (a) Voluntary Dismissal.
24                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                       and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
27
                         (i)     A notice of dismissal before the opposing party serves either an
28
                                 answer or a motion for summary judgment.

                                                   1
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:21-cv-01848-MRW Document 10 Filed 04/15/21 Page 2 of 2 Page ID #:29




 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: April 15, 2021          SO. CAL. EQUAL ACCESS GROUP
 6
 7                                  By:      /s/ Jason J. Kim
 8                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                 2
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
